                      Case 4:05-cr-00054-JLH Document 227 Filed 07/22/10 Page 1 of 2
'!loAO 245D   (Rev. 12/07) Judgment in a Criminal Case for Revocations

                                                                                                                                                                  D.~Rj
              Sheet 1

                                                                                                                                                       EASTEF~N DiSTRICT ,,;,RMNSAS

                                      UNITED STATES DISTRICT COURT
                                                                                                                                                                  JUL 2 22010
                                               EASTERN DISTRICT OF ARKANSAS                                                                  JAMm~¥\nVt\jS.l<)~~K
          UNITED STATES OF AMERICA                                                     Judgment in a Criminal c~l~ ~..t..¥U~
                              V.                                                       (For Revocation of Probation or Supervised Release)


               DUSTIN BRADBURY                                                         Case No.                    4:05CR00054-02 JLH
                                                                                       USMNo.                      23613-009
                                                                                                                                  Kim Driggers
                                                                                                                                Defendant's Attorney
THE DEFENDANT:
X   admitted guilt to violation of condition(s)         -,G:e.:e",,-n:;::e.:.:ra~l:l..'~
                                                                                    1,,-,1:;.;:1:.1.,,:::S:J::p.::::ec~i;:;:;al~_ _ of the term of supervision.

D   was found in violation of condition(s)             _ _ _ _ _ _ _ _ _ _ after denial of guilt.
The defendant is adjudicated guilty of these violations:


Violation Number              Nature of Violation                                                                                                   Violation Ended
General                       Violation of federal, state, or local law                                                                             April 20, 2010
General                       Unlawful use of a controlled substance                                                                                March 26, 2010
1                             Leaving judicial district without permission                                                                          April 20, 2010
11                            Failure to notify probation officer within 72 hours of arrest                                                         April 23, 2010
Special                       Failure to attend substance abuse treatment                                                                           March 25, 2010


       The defendant is sentenced as provided in pages 2 through 2                                         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D   The defendant has not violated condition(s)                                              and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes III
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 6046                                                                                 July 22, 201 0
                                                                                                                                of Imposition of Judgment
Defendant's Year of Birth:         1981

City and State of Defendant's Residence:
                    Bryant, Arkansas
                                                                                                  I. LEON HOLMES, U.S. DISTRICT IUDGE
                                                                                                                             Name and Title of Judge

                                                                                                                                   July 22, 2010
                                                                                                                                             Date
                     Case 4:05-cr-00054-JLH Document 227 Filed 07/22/10 Page 2 of 2
AD 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
            Sheet 2- Imprisonment

                                                                                             Judgment-- Page _   ....
                                                                                                                  2 _ of        2
DEFENDANT:                   DUSTIN BRADBURY
CASE NUMBER:                 4:05CR00054-02 JLH


                                                               IMPRISONMENT

         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
total term of :

                             24 MONTHS with no term of supervised release to follow


     X The court makes the following recommendations to the Bureau of Prisons:
         The Court recommends defendant be placed in a BOP medical facility in order to receive mental
         health treatment. Defendant's medical records are being forwarded to the BOP in support of this
         recommendation. It is also recommended that defendant participate in substance abuse treatment.

     X   The defendant is remanded to the custody of the United States Marshal.

     o The defendant shall surrender to the United States Marshal for this district:
       o at _ _ _ _ _ _ _ _ _ 0 a.m. o p.m. on
       o as notified by the United States Marshal.
     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o before 2 p.m. on
       o as notified by the United States Marshal.
       o as notified by the Probation or Pretrial Services Office.
                                                                       RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                   to

at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                          UNITED STATES MARSHAL


                                                                          By                     =~        =~_:_=_:~~---
                                                                                       DEPUTY UNITED STATES MARSHAL
